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       [ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024]

                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


 TIKTOK INC. and BYTEDANCE LTD.,

                      Petitioners,

                       v.                             No. 24-1113 (consol.
                                                     with Nos. 24-1130, 24-
 MERRICK B. GARLAND, in his official                         1183)
  capacity as Attorney General of the
  United States,

                      Respondent.



              NOTICE OF FILING REDACTED TRANSCRIPT

      The government hereby provides notice of the filing of an unclassified,

redacted transcript of a House Energy and Commerce Committee hearing related to

the statute at issue in these petitions for review. As the government previously

explained, see Am. Notice Regarding Hearing Tr., Congress conducted a number

of classified sessions, including one classified committee hearing, in connection

with its consideration of the Protecting Americans from Foreign Adversary

Controlled Applications Act, Pub. L. No. 118-50, div. H, 138 Stat. 955 (2024). The

Department of Justice has received the transcript of the classified hearing from

Congress. Although the government did not rely on the transcript in its brief, the
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government determined that it would be appropriate for purposes of transparency

and completeness to file on the public docket any unclassified portions of the

transcript.

       The appropriate officials in the intelligence community have now completed

a preliminary review of the transcript to identify unclassified information therein,

and a redacted, unclassified version of the transcript is attached to this notice. If a

more detailed review results in the determination that additional information is

unclassified, the government intends to file at that time an updated public, redacted

version of the transcript to reflect that new determination.




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                                Respectfully submitted,

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                                       General
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